          Case 1:20-cr-00314-GHW Document 142 Filed 06/22/22 Page 1 of 1
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                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 6/22/2022
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   UNITED STATES OF AMERICA,                                  :
                                                              :
                                                              :         1:20-cr-314-GHW
                                 – against–
                                                              :
                                                              :             ORDER
   ETHAN PHELAN MELZER,                                       :
           a/k/a “Etil Reggad,”                               :
                                                              :
                                                              :
                                            Defendant.
                                                              X
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GREGORY H. WOODS, United States District Judge:

        The Court will hold a conference to discuss the Defendant’s June 21, 2022 filings, as

described in the Court’s June 22, 2022 order, on July 1, 2022 at 11:00 a.m. in Courtroom 12C,

Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New York, NY 10007.

        SO ORDERED.

Dated: June 22, 2022
New York, New York                                           __________________________________
                                                                     GREGORY H. WOODS
                                                                    United States District Judge
